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 PERETORE & PERETORE, P.C.
 Attorneys for National City Commercial Capital Company, LLC
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 ___/S/ Frank Peretore______
 Frank Peretore, Esq.
 FP#7020

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 _________________________________________
                                                                  X Case No. 08-14631(GMB)
 In re:                                                           : Chapter 11
                                                                  :
                                                                  :
 SHAPES/ARCH HOLDINGS, L.L.C. et al.,                             :
                                                                  :
                                                                  :
            Debtors.                                              :
 -------------------------------------------------------------X

   OBJECTION OF NATIONAL CITY COMMERCIAL CAPITAL COMPANY, LLC TO
   NOTICES OF FILING OF SCHEDULE 8.1 TO DEBTORS’ THIRD AMENDED PLAN

 TO THE HONORABLE GLORIA M. BURNS
 UNITED STATES BANKRUPTCY JUDGE

          The objection of National City Commercial Capital Company, LLC (“National City”), by

 its attorneys, Peretore & Peretore, P.C., respectfully shows and alleges:

                                               TRANSACTIONS

          1. National City is the assignee with regard to a certain Material Usage Agreement

 (“Agreement”) for Intergrid Material (the “Equipment”) to the Debtor, as more particularly

 described below.




                                                          1
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          2. More specifically, on or about April 5, 2005, the Debtor through the signature of its

 CFO, as Lessee, entered into the Agreement with National City, as assignee of GED Integrated

 Solutions.

          3. The Debtor has defaulted under the terms of the Agreement by failing to pay

 $46,922.32; Pre-petition $2,489.07, and Post-petition $44,433.25.

                                 BANKRUPTCY PROCEEDINGS

          4.   On March 16, 2008, a voluntary petition was filed by Shapes/Arch Holdings, L.L.C.

 (“Debtor”) under 11 U.S.C. §§101-1330 (as amended, the “Bankruptcy Code”).

          5. On or about May 15, 2008, National City filed a Proof of Claim in the amount of

 $129,356.51.

          6. Debtor has issued a Notice of Filing of Schedule 8.1 to Debtors’ Third Amended Plan.



                                     CURE NOTICES AT ISSUE

          7. Said notice states in Annex A, the debtor believes the cure amount for National City is

 $0.00.

          8. The Cure Amount alleged by the Debtor is incorrect and National City hereby objects to

 same.

          9. As evidenced by National City’s breakdown above, the amount to cure the pre-petition

 arrears is $2,489.07 and the amount to cure the post-petition arrears through June 30, 2008, is

 FORTY-FOUR THOUSAND FOUR HUNDRED THIRTY THREE DOLLARS AND 25/100

 ($44,433.25).


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        WHEREFORE, NATIONAL CITY respectfully requests that its objection be sustained

 and the Debtor be required to provide National City the Cure Amount as provided herein, and for

 such other and further relief as the Court deems just and equitable.



 Dated: July 1, 2008                                       /s Frank Peretore, Esq.
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